






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-11-00443-CR

NO. 03-11-00444-CR






Danny Randell Lott, Appellant


v.


The State of Texas, Appellee






FROM THE DISTRICT COURT OF TRAVIS COUNTY, 299TH JUDICIAL DISTRICT

NOS. D-1-DC-10-904057 &amp; D-1-DC-10-904056

HONORABLE KAREN SAGE, JUDGE PRESIDING




M E M O R A N D U M   O P I N I O N



		Danny Randell Lott pleaded guilty to aggravated robbery, aggravated kidnapping,
and&nbsp;burglary of a habitation.  The trial court assessed punishment at thirty-five years in prison for
aggravated robbery, thirty-five years in prison for aggravated kidnapping, and ten years in prison for
burglary, with the terms to run concurrently.

		Lott's court-appointed attorney has filed a motion to withdraw supported by a
brief&nbsp;concluding that this appeal is frivolous and without merit.  The brief meets the requirements
of Anders v. California, 386 U.S. 738, 744, by presenting a professional evaluation of the record
demonstrating why there are no arguable grounds to be advanced.  See also Penson v. Ohio, 488 U.S.
75 (1988); High v. State, 573 S.W.2d 807 (Tex. Crim. App. 1978).  Lott was sent a copy of counsel's
brief and was advised of his right to examine the appellate record and to file a pro se brief.  See
Anders, 386 U.S. at 744.  No pro se brief has been filed and no extension of time was requested.

		We have reviewed the record and find no reversible error.  See Garner v. State,
300&nbsp;S.W.3d 763, 766 (Tex. Crim. App. 2009); Bledsoe v. State, 178 S.W.3d 824, 826-27 (Tex. Crim.
App. 2005).  The record contains DNA testimony, fingerprint comparisons, and eyewitness
testimony tying Lott to the offenses.  The record contains testimony from the robbery/kidnapping
victim about how Lott beat her with a gun butt, forced her to crawl to a bedroom, demanded that she
get on a bed, and then, when she ran, caught her and threatened to shoot her.  There was testimony
establishing that, when she nevertheless escaped, he broke into a neighbor's house and stole
women's clothing and a stroller to cover his escape.  There was also testimony regarding his cash
stash, his assumption of a new identity, and his plan for plastic surgery to alter his appearance.  His
attorney called character witnesses and attempted to cast doubt on some of the State's evidence,
eliciting testimony that the plastic surgery might simply have been for aesthetics rather than disguise.
Lott's attorney also obtained an expert witness who testified that Lott's behavior and claimed
amnesia was consistent with the effects sometimes induced by a medication Lott had begun
taking&nbsp;shortly before these incidents.  The court sustained several of Lott's attorney's objections
to&nbsp;evidence.  Appellant received punishments within the ranges for the offenses. (1)  There are no
reversible errors apparent in the acceptance of the guilty plea, the admission of the evidence, the
conduct of the trial, the performance of counsel, the punishment assessed, or otherwise.

		We agree with counsel that the appeal is frivolous.  Counsel's motions to withdraw
are granted.  The judgment of conviction is affirmed.



						__________________________________________

						Jeff Rose, Justice

Before Chief Justice Jones, Justices Rose and Goodwin

Affirmed

Filed:   August 31, 2012

Do Not Publish
1.   See Tex. Penal Code Ann. §§ 12.32 (first-degree offenses punishable by 5-99 years or life
in prison), 12.33 (second-degree offenses punishable by 2-20 years in prison); 20.04 (aggravated
kidnapping is a first-degree felony absent voluntary release in a safe place), 29.03 (aggravated
robbery is a first-degree felony), 30.02 (West 2011) (burglary of a habitation is a second-degree
felony absent commission of or an intent or attempt to commit a felony other than felony theft).


